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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                       District Court File No. 15-049 (MJD/FLN)

UNITED STATES OF AMERICA,                        )      FINAL
                                                 )      REPORT TO THE COURT
       Plaintiff,                                )      BY THE UNITED STATES
                                                 )      CONCERNING SENTENCING
           v.                                    )      NATIONWIDE FOLLOWING
                                                 )      CONVICTIONS FOR
HAMZA NAJ AHMED,                                 )      PROVIDING MATERIAL
MOHAMED ABDIHAMID FARAH,                         )      SUPPORT TO TERRORIST
ADNAN ABDIHAMID FARAH,                           )      ORGANIZATIONS
ABDIRAHMAN YASIN DAUD,                           )
ZACHARIA YUSUF ABDURAHMAN,                       )
HANAD MUSTOFE MUSSE, and                         )
GULED ALI OMAR                                   )
                                                 )
       Defendants.                               )

       The United States of America, through its attorneys, Andrew M. Luger, United

States Attorney for the District of Minnesota, and Assistant United States Attorneys John

Docherty, Andrew R. Winter, and Julie E. Allyn, respectfully submits its Final Report on

national terrorism sentencings. Several earlier iterations of this Report have been filed by

the government. This Final Report includes all sentencings in material support cases found

by the government through the date of this pleading, October 31, 2016. The final

sentencing included is that of Muhanad Badawi, sentenced on October 19, 2016, following

trial in the Central District of California. Other sentencings which are new since the last

report are two co-defendants in the Northern District of Illinois, Hasan Edmonds and Jonas

Edmonds, who were convicted on pleas of guilty.

       The government is aware of no cases pending sentencing in the near future, but will,

of course, continue to look for sentencings that may occur between now and the time of

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sentencing in these cases. Because no additional sentencings are anticipated between now

and November 14, 2016, however, the government is captioning this report its “final”

report.

          This report summarizes sentencing data from federal cases around the country in

which one or more defendants have been convicted of providing material support to a

designated foreign terrorist organization. This Final Report provides information about all

cases relating to the provision of material support, regardless of the count of conviction or

the identity of the foreign terrorist organization.

          There is one exception to this attempt at being comprehensive; cases in which the

sole count of conviction is a false statements charge, in violation of 18 U.S.C. § 1001, have

not been included. That is because those cases can cover offender behavior that is far

removed from the provision of material support to terrorists, and the inclusion of false

statements convictions would result in this Final Report comparing dissimilar cases.

          One-paragraph factual summaries of each case are set forth below. The facts were

taken from various sources, including press releases issued by the relevant United States

Attorney’s Office and the Federal Bureau of Investigation.

          The chart that follows the factual summary paragraphs collects for the reader the

key items of information about each case, including the defendant’s name; the federal

judicial district in which the defendant was sentenced; the district court file number, so that

readers who are so inclined can further research the case using PACER; the date of

sentencing; the aggregate, pronounced, custodial sentence; the lead statute of conviction;

whether the defendant’s conviction resulted from a negotiated guilty plea or a jury verdict

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following trial; and the designated foreign terrorist organization to which the defendant

provided material support.

      As in earlier reports in this series, sentencing data was taken from district court

judgment and commitment orders filed on PACER.

      Cases are arranged chronologically by date of sentencing, oldest sentencing first.

The oldest sentence in this report is that of defendant Sinh Nguyen, who was sentenced in

the Central District of California on June 30, 2014. The most recent sentencing is that of

Muhanad Badawi, also sentenced in the Central District of California, on October 19, 2016.

      The sentences of 26 defendants are summarized below. There are several features

of these cases worth noting:

      -    Four of these defendants, co-defendants Sohiel Kabir and Ralph Deleon, plus

           co-defendants Nader Elhuzayel and Muhanad Badawi, were convicted following

           trial. The other twenty-two defendants all pled guilty.

      -    Only one defendant, Ralph Deleon, was convicted of violating 18 U.S.C. § 956.

           In some of the other cases in this Report, a defendant was convicted of violating

           18 U.S.C. § 2339A, with the predicate offense for the 18 U.S.C. § 2339A

           conviction being an 18 U.S.C. § 956 conspiracy. Because these cases only

           referred to 18 U.S.C. § 956, but did not actually charge 18 U.S.C. § 956, they

           have not been counted as 18 U.S.C. § 956 sentences. An example of how this

           fact pattern comes about is presented in the Indictment in United States v.

           Mahamud Said Omar, Criminal No. 09-242 (MJD/SRN), Docket No. 1. In that

           case, the charging language for the counts alleging a violation of 18 U.S.C.

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     § 2339A read as follows: “[Defendant]         did knowingly and intentionally

     conspire with others to provide material support and resources, knowing and

     intending that the material support and resources were to be used in preparation

     for and in carrying out a violation of Title 18, United States Code, Section 956

     (conspiracy to kill, kidnap, maim, or injure persons in a foreign country), all in

     violation of Title 18, United States Code, Section 2339A(a).” (Emphasis added.)

     However, despite being mentioned in the indictment’s charging language, such

     cases do not constitute a violation of 18 U.S.C. § 956, and so are not included in

     this Final Report as 18 U.S.C. § 956 cases, although they may be included in this

     Final Report for other reasons.

-    Of the 26 defendants, 20 were convicted of violating 18 U.S.C. § 2339B, either

     standing alone, or in conjunction with other convictions. Of these 20, 14 were

     sentenced to 18 U.S.C. § 2339B’s statutory maximum of fifteen years in prison.

     (The statutory maximum has since been increased to twenty years, but none of

     the defendants in this Final Report committed their crimes recently enough to be

     exposed to the increased statutory maximum penalty.)

-    In several of these cases, the defendant was convicted of more than one crime.

     Those cases are United States v. Shelton Bell (number three below); United

     States v. Sohiel Kabir and Ralph DeLeon (number five below); United States v.

     Donald Ray Morgan (number six below); United States v. Agron Hasbajrami

     (number nine below); United States v. Ming Quang Pham (number 12 below);

     United States v. Mufid Elfgeeh (number 13 below); United States v. Adam

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           Dandach (number 18 below); United States v. Elhuzayel and Badawi (number

           20 below); and United States v. Hasan and Jonas Edmonds (number 21 below).

           In all of these cases but one (Dandach), the sentencing judge imposed a sentence

           beyond the 180-month statutory maximum on the 18 U.S.C. § 2339A or B

           conviction.

                                           THE CASES

      1.      United States v. Sinh Vinh Ngo Nguyen, Central District of California, June

30, 2014. Defendant Nguyen traveled to Syria and fought with anti-Assad forces for four

months. Upon his return to the United States he expressed a desire to “return to jihad”

because that “was what he was born to do.” After giving a man he thought was an al Qaeda

recruiter (but who was in reality working for the FBI) a photograph of himself and a U.S.

passport application containing false information, Nguyen was arrested.         Defendant

Nguyen was sentenced by Judge John F. Walter to 13 years in prison.

      2.      United States v. Gufran Mohammed, Southern District of Florida, December

17, 2014. Defendant Mohammed wired funds to al Qaeda in Iraq, the al-Nusrah Front, and

al Shabaab. Defendant Mohammed also agreed to recruit people to travel overseas and

join these designated foreign terrorist organizations. Defendant Mohammed was sentenced

by Judge Ursula Ungaro to 15 years in prison, the statutory maximum for a violation of 18

U.S.C. § 2339B. United States v. Mohammed Hussain Said is the companion case to this

one (see number ten below).

      3.      United States v. Shelton Bell, Middle District of Florida, January 14, 2015.

Defendant Bell recruited a juvenile to go with him to join, and fight for, ISIL. After

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following a training regimen of their own devising for three months, Bell and the juvenile

traveled from New York’s John F. Kennedy International Airport to Poland. They then

flew from Poland to Israel. Israeli officials arrested the pair and sent them back to Poland.

The two then flew to Jordan, where they were again arrested, and this time returned to the

United States. Bell entered guilty pleas to two 18 U.S.C. § 2339B counts, one of them

attempt, and one of them conspiracy. Judge Timothy Corrigan sentenced Bell to twenty

years in prison. Judge Corrigan imposed the fifteen-year statutory maximum for a violation

of 18 U.S.C. § 2339B on the 18 U.S.C. § 2339B conspiracy count, and then imposed a

sentence of five years’ imprisonment, to be served consecutively, on the attempt count.

Judge Corrigan also filed a 41-page memorandum explaining his sentence.

          4.   United States v. Shannon Conley, District of Colorado, January 23, 2015.

Defendant Conley met an ISIL recruiter online. In an effort to prepare herself to join, and

fight for, ISIL, defendant Conley joined a U.S. Army-sponsored Explorer scout group,

obtained first aid training, and took firearms training. FBI agents met with defendant

Conley multiple times and tried to talk her out of trying to travel to Syria. Defendant

Conley was not persuaded, and was arrested at the Denver airport as she tried to board a

flight to Turkey. Judge Raymond P. Moore sentenced Conley to 48 months in federal

prison.

          5.   United States v. Sohiel Kabir and Ralph DeLeon, Central District of

California, February 23. 2015.      After a six and-a-half week trial, and six days of

deliberation, a jury convicted Kabir and DeLeon of conspiracy to provide material support

to terrorists, in violation of 18 U.S.C. § 2339A, and conspiracy to kill officers and

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employees of the United States, in violation of 18 U.S.C. § 1117. According to reports in

the press, the defendants conspired to travel to Afghanistan and kill U.S. troops there.

       As to Kabir individually, the jury found him guilty of conspiracy to provide material

support to terrorists, in violation of 18 U.S.C. § 2339A; conspiracy to provide material

support to a designated foreign terrorist organization, in violation of 18 U.S.C. § 2339B;

conspiracy, in violation of 18 U.S.C. § 371; and conspiracy to kill officers and employees

of the United States, in violation of 18 U.S.C. § 1117.

       As to Deleon individually, the jury found him guilty of conspiring to provide

material support to terrorists, in violation of 18 U.S.C. § 2339A; conspiracy to kill, kidnap,

and maim persons in a foreign country, in violation of 18 U.S.C. § 956; and conspiracy to

kill officers and employees of the United States, in violation of 18 U.S.C.§ 1117. Judge

Virginia Phillips sentenced both defendants to 25 years’ imprisonment. In the case of

DeLeon, this sentence was composed of a 180-month sentence on DeLeon’s 18

U.S.C.§ 2339A conviction (the statutory maximum); and 300 months in prison on each of

the two conspiracy to murder charges.          All sentences were ordered to be served

concurrently.

       Defendant Kabir was sentenced to 180 months, the statutory maximum, on each of

his material support convictions; 60 months, also the statutory maximum, on his conviction

of 18 U.S.C. § 371; and 300 months for his conviction of conspiracy to kill officers and

employees of the United States in violation of 18 U.S.C. § 1117. All sentences were again

ordered to be served concurrently.



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       6.     United States v. Donald Ray Morgan, May 13, 2015, Middle District of

North Carolina. Defendant Morgan traveled to Lebanon, and from there attempted to enter

Syria to join, and fight for, ISIL. Upon his return to the United States, he was arrested at

Kennedy Airport on a warrant for possession of a firearm by a felon. Defendant Morgan

was sentenced to a total of 243 months of imprisonment by Judge Thomas D. Schroeder.

180 months, or fifteen years, of Morgan’s sentence was allocated to Morgan’s conviction

of violating 18 U.S.C. § 2339B. This is the statutory maximum for a violation of 18 U.S.C.

§ 2339B. The balance of Morgan’s sentence, 63 months, was allocated by Judge Schroeder

to Morgan’s firearms conviction.

       7.     United States v. Michael Wolfe, Western District of Texas, June 5, 2015.

Defendant Wolfe attempted to travel to the Middle East to lend his support to ISIL. He

admitted at his change of plea hearing that in preparation, he applied for and acquired a

U.S. passport, participated in physical fitness training, practiced military maneuvers,

concealed his preparations, and bought an airline ticket for travel to Europe, which he

believed would be the first leg of a trip to the Middle East. Instead, he was arrested on the

jetway at the Houston, Texas airport as he attempted to board a flight to Toronto, Canada.

Judge Sam Sparks sentenced Wolfe to 82 months in prison.

       8.     United States v. Leon Davis, Southern District of Georgia, July 28, 2015.

Defendant Davis was arrested at the Atlanta airport as he attempted to board a flight to

Turkey. The defendant had been under investigation for more than a year before he was

arrested, after the defendant communicated with ISIL members via social media. Judge J.



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Randal Hall sentenced defendant Davis to fifteen years in prison, the statutory maximum

for a violation of 18 U.S.C. § 2339B.

       9.     United States v. Agron Hasbajrami, Eastern District of New York, August

13, 2015. Defendant Hasbajrami was convicted of attempting and conspiring to provide

material support to unspecified radical jihadist groups in Pakistan’s Federally-

Administered Tribal Areas. Defendant Hasbajrami also sent several wire transfers of funds

abroad in support of terrorist organizations. On September 6, 2011, Hasbajrami was

arrested at John F. Kennedy International Airport, as he attempted to board a flight to

Turkey, from where he would have flown on to the Federally-Administered Tribal Areas.

Judge John Gleeson of the Eastern District of New York sentenced Hasbajrami to 16 years

in prison, followed by removal from the United States.

       10.    United States v. Mohamed Hussain Said, Southern District of Florida, August

28, 2015. This is a companion case to United States v. Gufran Mohammed (see number

two above). Like defendant Gufran Mohammed, defendant Said also conspired to provide

both money and recruits to al Qaeda, al Qaeda in Iraq, and al Shabaab. Judge Ursula

Ungaro sentenced defendant Said to fifteen years’ imprisonment, the statutory maximum.

       11.    United States v. Ali Shukri Amin, Eastern District of Virginia, August 28,

2015. Defendant Amin, who was 17 years old, used social media to provide material

support to ISIL.    Specifically, defendant Amin used Twitter to provide advice and

encouragement to ISIL fighters. Judge Claude M. Hilton sentenced defendant Amin to 136

months in prison, followed by a lifetime of supervised release that will include monitoring

of the defendant’s online activities.

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       12.    United States v. Ming Quang Pham, Southern District of New York, January

8, 2016. This case is factually quite different from the others in this report, and has a long

procedural history. Defendant Pham was arrested in the United Kingdom on June 29, 2012,

and extradited to the United States in February of 2015. Pham left his home in London to

travel to Yemen in December 2010, where he planned an attack in the United Kingdom.

While in Yemen he received military training, including training in bomb-making, from

the designated terrorist organization al-Qaeda in the Arabian Peninsula (“AQAP”), and he

contributed to al-Qaeda’s Inspire magazine. Pham pleaded guilty to providing material

support to AQAP, conspiring to receive military training from AQAP, and using a machine

gun in furtherance of crimes of violence. He was sentenced by Judge Alison Nathan to a

40-year term of imprisonment.

       13.    United States v. Mufid Elfgeeh, Western District of New York, March 17,

2016. Defendant Elfgeeh attempted to recruit two people to join ISIL. The two people the

defendant tried to recruit were working for the FBI. Elfgeeh assisted the two in obtaining

passports, and gave them advice about how to travel to Syria in a way that would avoid

detection by law enforcement. Elfgeeh also gave the individuals computer equipment

which they were to take to Syria with them. Elfgeeh also was in contact with anti-Assad

fighters who were surrounded in the Syrian city of Homs by Assad regime troops. Elfgeeh

was able to put the commander of the surrounded soldiers in contact with ISIL leaders.

After the commander of the surrounded soldiers pledged allegiance to ISIL, ISIL came to

his assistance. Judge Elizabeth Wolford sentenced Elfgeeh to 270 months in prison. The

defendant had pleaded guilty to two counts of providing material support to a designated

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foreign terrorist organization, ISIL. Judge Wolford sentenced the defendant to the statutory

maximum of 180 months on the first conviction, and a consecutive 90 months on the

second conviction, for a total of 270 months’ imprisonment.

       14.    United States v. Alaa Saadeh, District of New Jersey, May 10, 2016.

Defendant Saadeh planned to travel overseas himself to join, and fight for, ISIL. The

defendant also helped his brother successfully travel overseas for the same purpose. Judge

Susan Wigenton sentenced Saadeh to 15 years in prison, the statutory maximum for a

violation of 18 U.S.C. § 2339B.

       15.    United States v. Nicholas Teausant, Eastern District of California, June 7,

2016. Defendant Teausant was arrested near the Canadian border. He intended to cross

into Canada, and from there make his way to the Middle East to join, and fight for, ISIL.

Judge John A. Mendez sentenced Teausant to 12 years’ imprisonment.

       16.    United States v. Avin Marsalis Brown and Akba Jihad Jordan, Eastern

District of North Carolina, both on July 5, 2016. Defendants Brown and Jordan pleaded

guilty to providing material support to terrorists, in violation of 18 U.S.C. § 2339A.

Although both defendants spoke of the need to go overseas and wage jihad, neither was

specific about joining or assisting any particular terrorist organization. Judge Louise W.

Flanagan sentence Brown to 92 months’ imprisonment, followed by five years’ supervised

release, while Jordan was sentenced to 108 months’ imprisonment, also followed by five

years’ supervised release.

       17.    United States v. Joseph Hassan Farrokh, Eastern District of Virginia, July

15, 2016. Defendant Farrokh conspired with co-defendant Mahmoud Amin Elhassan (who

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has not yet fully resolved the charges against him, either by plea or by trial) to travel to

Syria, where they would join, and fight for, ISIL. Farrokh and Elhassan had numerous

communications, using secure apps, about their plans. Farrokh was arrested as he went

down the jetway to catch his flight.

       18.    United States v. Adam Dandach, Central District of California, July 25, 2016.

Defendant Dandach attempted to fly from Santa Ana, California to Istanbul, Turkey to join

ISIL. Judge James V. Selna sentenced Dandach to 15 years’ imprisonment, the statutory

maximum, for attempting to provide material support to a designated foreign terrorist

organization, ISIL. The defendant was also sentenced to a concurrent sentence of ten years

for lying on his passport application.

       19.    United States v. Jaelyn Delshaun Young and Muhammad Oda Dakhlalla

Northern District of Mississippi, August 11, 2016 (defendant Young) and August 24, 2016

(defendant Dakhlalla). Defendant Young and her co-defendant/boyfriend, Muhammad

Oda Dakhlalla, obtained passports and planned to fly to Istanbul via Amsterdam to offer

their services to ISIL. On August 11, 2016, Judge Sharion Aycock sentenced Young to

144 months in prison. On August 24, 2016, Judge Aycock sentenced defendant Dakhlalla

to 96 months in prison.

       20.    United States v. Nader Salem Elhuzayel, Central District of California,

September 26, 2016. Defendant Elhuzayel and his co-defendant, Muhanad Badawi, used

social media to discuss ISIL and terrorist attacks, expressed a desire to die as martyrs, and

made arrangements for Elhuzayel to leave the United States to join ISIL. Elhuzayel also

used social media to contact ISIL operatives and other ISIL supporters, including Elton

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Simpson, one of the perpetrators of the May 3, 2015 attack in Garland, Texas, with whom

Elhuzayel was in contact on the day of the attack. The two defendants carried out a

significant bank fraud scheme to raise travel funds. The jury deliberated less than an hour

before returning guilty verdicts against both defendants. At Elhuzayel’s sentencing, Judge

David O. Carter noted that Elhuzayel’s lack of remorse made him “especially dangerous.”

Judge Carter then imposed a sentence on Elhuzayel of thirty years’ imprisonment, followed

by a lifetime of supervised release. On October 19, 2016, Judge Carter also sentenced

Badawi to thirty years’ imprisonment.

       21.    United States v. Hasan R. Edmonds and Jonas M. Edmonds, Northern

District of Illinois, October 14, 2016. Defendant Hasan Edmonds was an enlisted member

of the Illinois National Guard. He and his co-defendant and cousin, Jonas Edmonds,

planned an attack on an Illinois National Guard base. Judge John Lee sentenced Hasan

Edmonds to thirty years’ imprisonment and Jonas Edmonds to 21 years’ imprisonment.

This was not a traveler case.




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Defendant Name      District      Court File No.    Date          of Sentence        Statute of                 Plea/Trial   Organization
                                                    Sentencing                       Conviction
Sinh Nguyen         California,   2:13-CR-00736-    June 30, 2014    156 months      18 USC § 2339B             Plea         Al-Qaeda
                    Central       JFW
Gufran Mohammed     Florida,      1:13-CR-20364-    December        17, 180 months   18 USC § 2339B             Plea         Al Shabaab;
                    Southern      UU                2014                                                                     Al-Qaeda; al-
                                                                                                                             Nusrah Front
Shelton Bell        Florida,      3:13-CR-00141-    January 14, 2015 240 months      18 USC § 2339A             Plea         Ansar     al-
                    Middle        TJC-JRK                                                                                    Sharia
Shannon Conley      Colorado      1:14-CR-00163-    January 23, 2015 48 months       18 USC § 371               Plea         ISIL
                                  RM
Sohiel Kabir        California,   5:12-CR-00092-    February        23, 300 months   18 USC § 2339A; 18         Trial        Al-Qaeda
                    Central       VAP               2015                             USC § 2339B; 18 USC
                                                                                     § 371; 18 USC § 1117
                                                                                     (conspiracy to murder)
Ralph DeLeon        California,   5:12-CR-00092-    February        23, 300 months   18 USC § 956; 18 USC       Trial        Al-Qaeda
                    Central       VAP               2015                             § 2339A; 18 USC
                                                                                     § 1117 (conspiracy to
                                                                                     murder)
Donald Ray Morgan   North         1:14-CR-00194-1   May 13, 2015        243 months   18 USC § 2339B and         Plea         ISIL
                    Carolina,     1:14-CR-00414-1                                    18                 USC
                    Middle                                                           § 922(g)(1)(possession
                                                                                     of a firearm by a felon)
Michael Wolfe       Texas,        1:14-CR-00213-SS June 5, 2015         82 months    18 USC § 2339B             Plea         ISIL
                    Western
Leon Davis          Georgia,      1:15-CR-00059-    July 28, 2015       180 months   18 USC         § 2339B Plea             ISIL
                    Southern      JRH-BKE                                            (attempt)




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Defendant Name      District       Court File No.     Date          of Sentence      Statute of         Plea/Trial   Organization
                                                      Sentencing                     Conviction
Agron Hasbajrami    New     York, 1:11-CR-00623-      August 13, 2015 192 months     18 USC § 2339A and Plea         Unclear;
                    Eastern       DLI                                                18 USC § 371                    Hasbajrami
                                                                                                                     expressed
                                                                                                                     desire      to
                                                                                                                     travel      to
                                                                                                                     Pakistan to
                                                                                                                     wage jihad,
                                                                                                                     but did not
                                                                                                                     specify      a
                                                                                                                     group
Mohammed Hussain Florida,          1:13-CR-20364-     August 28, 2015   180 months   18 USC § 2339B Plea             Al Shabaab;
Said             Southern          UU                                                (conspiracy)                    al-Nusrah
                                                                                                                     Front;     al-
                                                                                                                     Qaeda in Iraq
                                                                                                                     (predecessor
                                                                                                                     of ISIL)
Ali Shukri Amin     Virginia,       1:15-CR-00164-    August 28, 2015   136 months   18 USC § 2339B      Plea        ISIL
                    Eastern         CMH
Ming Quang Pham     New       York, 12-CR-423 (AJN)   January 8, 2016   480 months   18 USC § 2339B; 18 Plea         Al-Qaeda in
                    Southern                                                         USC § 2339D; 18                 the Arabian
                                                                                     USC § 924(c)                    Peninsula
                                                                                                                     (AQAP)
Mufid Elfgeeh       New      York, 6:14-CR-06147-     March 17, 2016    270 months   18 USC § 2339B (2 Plea          ISIL
                    Western        EAW-JWF                                           counts)
Alaa Saadeh         New Jersey     2:15-CR-558-       May 10, 2016      180 months   18 USC § 2339B    Plea          ISIL
                                   SDW
Nicholas Teausant   California,    2:14-CR-00087-     June 7, 2016      144 months   18 USC § 2339B      Plea        ISIL
                    Eastern        JAM

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Defendant Name        District      Court File No.    Date            of Sentence         Statute of     Plea/Trial   Organization
                                                      Sentencing                          Conviction
Avin Marsalis Brown   North         15:14-CR-58-1FL   July 5, 2016       92 months        18 USC § 2339A Plea         None
                      Carolina,                                          (Notice       of (conspiracy)                specified     –
                      Eastern                                            Appeal     filed                             Brown stated
                                                                         with the Fourth                              he wished to
                                                                         Circuit Court                                travel
                                                                         of Appeals on                                overseas to
                                                                         7/13/2016)                                   fight against
                                                                         (non-ISIL                                    unbelievers,
                                                                         case)                                        but did not
                                                                                                                      name a group
Akba Jihad Jordan     North         5:14-CR-58-2FL    July 5, 2016       108 months   18 USC § 2339A      Plea        None
                      Carolina,                                                                                       specified     –
                      Eastern                                                                                         Jordan is a co-
                                                                                                                      defendant of
                                                                                                                      Brown, above
Adam Dandach          California,   8:14-CR-00109-    July 25, 2016      180 months   18 USC § 2339B and Plea         ISIL (please
                      Central       JVS                                               18 USC § 1542 (false            see discussion
                                                                                      statements     in     a         in text section
                                                                                      passport application)           regarding
                                                                                                                      Dandach’s
                                                                                                                      sentence)
Joseph     Hassan Virginia,         1:16-CR-20        July 15, 2016      102 months   18 USC § 2339B Plea             ISIL
Farrokh            Eastern                                                            (attempt)
Jaelyn    Delshaun Mississippi,     1:15-CR-00098-    August 11, 2016    144 months   18 USC § 2339B Plea             ISIL
Young              Northern         0002-SA-DAS
Muhammad       Oda Mississippi,     1:15-CR-00098-    August 24, 2016    96 months    18 USC § 2339B      Plea        ISIL
Dakhlalla          Northern         0001-SA-DAS


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Defendant Name      District     Court File No.   Date       of Sentence         Statute of               Plea/Trial   Organization
                                                  Sentencing                     Conviction
Nader        Salem California,   SA CR 15-0060    September 26, 360 months       18 U.S.C. § 2339B; 1 Trial            ISIL
Elhuzayel          Central                        2016                           count of conspiracy to
                                                                                 provide        material
                                                                                 support, and 1 count of
                                                                                 attempting to provide
                                                                                 material support, plus
                                                                                 25 counts of bank
                                                                                 fraud, in violation of
                                                                                 18 U.S.C.§ 1344
Hasan R. Edmonds    Illinois,    1:15-CR-149-1    October     14, 360 months     18               U.S.C. Plea          ISIL
                    Northern                      2016                           §2339B(a)(1);
                                                                                 Conspiring            to
                                                                                 providing      material
                                                                                 support or resources to
                                                                                 designated     terrorist
                                                                                 organization;        18
                                                                                 U.S.C.          Section
                                                                                 (2339B)(a)(1);
                                                                                 Attempting to provide
                                                                                 material support to
                                                                                 foreign        terrorist
                                                                                 organization




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Defendant Name        District     Court File No.    Date        of Sentence       Statute of                Plea/Trial   Organization
                                                     Sentencing                    Conviction
Jonas M. Edmonds      Illinois,    1:15-CR-00149-2   October    14, 252 months     18                U.S.C. Plea          ISIL
                      Northern                       2016                          §2339B(a)(1);
                                                                                   Providing      material
                                                                                   support or resources to
                                                                                   designated      terrorist
                                                                                   organization;
                                                                                   18.U.S.C. §1001(a)(2);
                                                                                   Making              false
                                                                                   statement     to     law
                                                                                   enforcement officer
Muhanad Elfatih M.A. California,   8:15-CR-00060-    October    19, 360 months     18 U.S.C. § 2339B; Trial               ISIL
Badawi               Central       DOC               2016                          Conspiracy to provide
                     District                                                      material support or
                                                                                   resources      to       a
                                                                                   designated       foreign
                                                                                   terrorist organization;
                                                                                   18.U.S.C. §§ 2339B;
                                                                                   Attempting to provide
                                                                                   material support or
                                                                                   resources      to       a
                                                                                   designated       foreign
                                                                                   terrorist organization,
                                                                                   aiding and abetting; 20
                                                                                   U.S.C. § 1097(a);
                                                                                   Financial aid fraud




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Dated: November 1, 2016            Respectfully submitted,

                                   ANDREW M. LUGER
                                   United States Attorney

                                   s/ John Docherty

                                   BY: JOHN DOCHERTY
                                   Assistant United States Attorney
                                   Attorney Reg. No. 017516X

                                   ANDREW R. WINTER
                                   Assistant United States Attorney

                                   JULIE E. ALLYN
                                   Assistant United States Attorney




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